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         UNITED STATES DISTRICT COURT
         S©UTHERN DISTRICT OF NEW YORK
                                                                                       0 CJ RIGI Nii. L
          -------------------------------------------------------X
          UNITED STATES OF AMERICA

                                    V.                                              Order of Continuance

          1bAo coRcINo,                                                                       19 Mag. 9405
           1
                                             Defendant.
          -------------------------------------------------------X


                 Upon the application of the United States of America and the affirmation of Daniel G.

         Nessim, Assistant United States Attorney for the Southern District of New York, it is found that

         thi defendant was arrested on or about October 7, 2019 and charged with violations of Title 21 ,

         Urlited States Code, Section 846 in a complaint dated October 8, 2019;

                 It is further found that the defendant was presented in this district before Magistrate Judge

         o J a T. Wang on October 8, 2019, and bail conditions were set;
           I     It is further found that Patrick Joyce, Esq., counsel for defendant, and Assistant United

         States Attorney Daniel G. Nessim have been engaged in, and are continuing, discussions

         concerning a possible disposition of this case;

                 It is further found that the Government has requested a continuance of 30 days to engage

         in further discussions with counsel about the disposition ofthis case; and
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         It is further found that the granting of such a continuance best serves the ends of justice

and outweighs the best interests of the public and the defendant in a speedy trial; and therefore it

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         ORDERED that the request for a continuance pursuant to 18 U.S .C. § 3161(h)(7)(A) is

hereby granted until December 7, 2019.

Dated:          New York,~~ York
                November ~L019



                                                                 vJ
